                   Case 3:20-cr-00249-RS
DOCUMENTS UNDER SEAL
                                                    Document 69           Filed 09/13/21 Page 1
                                                                             TOTAL TIME (m ins):
                                                                                                   of 1
                                                                                                 3 minutes
MAGISTRATE JUDGE                          DEPUTY CLERK                              REPORTER/',*,7$/5(&25',1*
MINUTE ORDER=220                        Melinda K. Lock                          10:45-10:48
MAGISTRATE JUDGE                           DATE                                      NEW CASE         CASE NUMBER
SALLIE KIM                                 September 13, 2021                                        3:20-cr-00249-RS
                                                      APPEARANCES
DEFENDANT                                   AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.       RET.
Rowland Marcus Andrade                              N         P       Michael Shepard (special appear.)    APPT.
U.S. ATTORNEY                               INTERPRETER                            FIN. AFFT              COUNSEL APPT'D
Andrew Dawson                                                                      SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR             PARTIAL PAYMENT
                             Brad Wilson                              APPT'D COUNSEL               OF CJA FEES
                                        PROCEEDINGS SCHEDULED TO OCCUR
        INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                                                                              TRIAL SET
        I.D. COUNSEL               ARRAIGNMENT            BOND HEARING              IA REV PROB. or           OTHER
       not held                                                                     or S/R
        DETENTION HRG              ID / REMOV HRG         CHANGE PLEA               PROB. REVOC.              ATTY APPT
                                                                                                              HEARING
                                                     INITIAL APPEARANCE
         ADVISED                ADVISED                  NAME AS CHARGED              TRUE NAME:
         OF RIGHTS              OF CHARGES               IS TRUE NAME
                                                        ARRAIGNM ENT
        ARRAIGNED ON                ARRAIGNED ON              READING W AIVED             W AIVER OF INDICTMENT FILED
        INFORMATION                 INDICTMENT                SUBSTANCE
                                                         RELEASE
       RELEASED           ISSUED                     AMT OF SECURITY          SPECIAL NOTES               PASSPORT
       ON O/R             APPEARANCE BOND            $                                                    SURRENDERED
                                                                                                          DATE:
PROPERTY TO BE POSTED                           CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


       MOTION           PRETRIAL               DETAINED           RELEASED       DETENTION HEARING              REMANDED
       FOR              SERVICES                                                 AND FORMAL FINDINGS            TO CUSTODY
       DETENTION        REPORT                                                   W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
    CONSENT                     NOT GUILTY                   GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA               PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                           FILED
                                                        CONTINUANCE
 TO:                               ,'2)&2816(/           BOND                    STATUS RE:
9/17/2021                          HEARING                 HEARING                 CONSENT                  TRIAL SET

 AT:                               SUBMIT FINAN.             PRELIMINARY           CHANGE OF              67$786 Re:
                                   AFFIDAVIT                 HEARING               PLEA               Hearing to determine
10:30 AM                                                     BBBBBBBBBBBBB                            potential CJA contributions
BEFORE HON.                        DETENTION                 $55$,*1MENT            MOTIONS                 JUDGMENT &
                                   HEARING                                                                  SENTENCING
Sallie Kim
         TIME W AIVED              TIME EXCLUDABLE           IDENTITY /            PRETRIAL                 PROB/SUP REV.
                                   UNDER 18 § USC            REMOVAL               CONFERENCE               HEARING
                                   3161                      HEARING
                                                  ADDITIONAL PROCEEDINGS
Defendant consents to proceeding by video. Defense counsel notifies the Court that he does not have any conflicts but
requests that the matter be continued a few days to allow him time to speak to the defendant and then seek formal
appointment. The Government does not need to be present for the hearing on 9/17/2021. Status Conference set for
10/12/2021 at 2:30 PM before Judge Richard Seeborg.                                      DOCUMENT NUMBER:
